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                                     SPARTAN                                MOSQUITO

Jeremy Hirsch
P.O. Box 18556
Hattiesburg, MS 39404


September 12, 2022


The University of Southern Mississippi
Office of University Communications
118 College Drive #5016
Hattiesburg, MS 39406-0001


Dear Office of University Communications:


Under the Mississippi Public Records Act§ 25-61-1 et seq. and IHL Policy 301.0804, I am requesting an opportunity to inspect or
obtain copies of public records that include the words "Purrington" or, "Yitz'', or "Spartan", or "Bursar", or "Eradicator", or "Yee", or
"Hainze" during the time period of January 1, 2017 though the date of this letter.


If there are any fees for searching or copying these records, please inform me if the cost will exceed $50. However, I would also like
to request a waiver of all fees in that the disclosure of the requested information is in the public interest. This information is not
being sought for commercial purposes.


The Mississippi Public Records Act and IHL Policy 301.0804 requires a response time within one day of receipt unless the governing
body for that public entity has adopted a written policy extending time for compliance for up to, but not to exceed, seven working
days. If access to the records I am requesting will take longer than seven days, please contact me with information about when I
might expect copies or the ability to inspect the requested records.


If you deny any or all of this request, please cite each specific exemption you feel justifies the refusal to release the information and
notify me of the appeal procedures available to me under the law.


Thank you for considering my request.


Sincerely,




Jeremy Hirsch
601-270-8194

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